       Case 1:12-cr-00119-JRH-BKE Document 210 Filed 01/12/21 Page 1 of 5



                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF GEORGIAy                                                  r'y '
                                                                                                                  r I ’
                                      AUGUSTA DIVISION                                                              .

                                                                                                          Ml JA;| 12 P 2- 5U
UNITED STATES OF AMERICA                                             *
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         V .                                                         *         OR 112-119
                                                                     *
                                                                     ●k
DAVON MITCHELL SAXTON




                                                              ORDER



         Defendant Devon Mitchell Saxton has filed a second motion for

\\                                               //        under                                                                   The
     compassionate           release                                18    U.S.C.    §     3582(c) (1) (A) .

Government opposes the motion.                                       Upon due consideration,                              the Court

denies Saxton's request for relief.

         The          compassionate                        release        provision            of           18            U.S.C.     §


3582(c) (1) (A) provides a narrow path for a district court to reduce

the      sentence           of     a        criminal                defendant       in     \\
                                                                                                extraordinary                      and

                                                      ft
                                                            if     such   reduction       is        \\
compelling               circumstances                                                                   consistent              with

applicable               policy        statements                    issued    by        the             [United              States]

                                            tt
Sentencing Commission.                                18 U.S.C. § 3582(c) (1) (A) .                         Section IBl.13

of     the          Sentencing             Guidelines                provides       the         applicable                     policy

statement,               explaining              that         a    sentence    reduction                 may         be       ordered

where      a        court   determines,                     upon     consideration         of            the       factors         set

forth in            18    U.S.C.       §    3553(a) ,              that    extraordinary and compelling
               ft
reasons             exist and the defendant does not present a danger to the

safety of any other person or the community.                                                U.S.S.G.                      §   1B1.13.
      Case 1:12-cr-00119-JRH-BKE Document 210 Filed 01/12/21 Page 2 of 5



The application note to this policy statement lists three specific

examples       of    extraordinary              and    compelling           reasons         to   consider

reduction of a defendant's sentence under § 3582(c) (1) (A): (1) a

medical condition; (2) advanced age; and (3) family circumstances.

Id. n. 1 (A)-(C) .          The Court has already denied Saxton's claim for

relief pursuant to the "medical condition" category.                                         (See Order

of May 22, 2020, Doc. 202.)

        The application note to the policy statement also provides a

fourth     \\ catch-all      ft
                                    category      of       extraordinary              and    compelling

reasons:        As determined by the Director of the Bureau of Prisons,

there     exists       in         the    defendant's            case    an       extraordinary            and

                                                                                                    rr
compelling          reason        other    than,          or    in     combination          with.         the

aforementioned          three           categories.              U.S.S.G.         §    1B1.13      n.l(D)

(emphasis added).             Through his present motion, Saxton insists that

the    First    Step    Act        has    now    given         district         courts    authority        to

ignore     the       emphasized            language            and     to        determine        whether

extraordinary and compelling reasons exist outside of the three

enumerated examples in U.S.S.G. § IBI.13 independent of the BOP's

determination.              In     doing    so,       Saxton      contends         that     if   he      were

sentenced today, he would not be subject to "stacking" under 18

                                                                            1
U.S.C. § 924(c) because of the First Step Act.                                   Thus, the disparity




1 Saxton refers to Section 403 of the First Step Act of 2018, which
modified 18 U.S.C. § 924(c) as to when a 25-year sentence is to be
imposed.    Section 403, however, does not apply retroactively.

                                                      2
      Case 1:12-cr-00119-JRH-BKE Document 210 Filed 01/12/21 Page 3 of 5



in    sentence    between   him       and        a    similarly           situated     defendant

sentenced today constitutes an extraordinary and compelling reason

for this Court to use its discretion to reduce his sentence.

       The Court cannot grant Saxton the requested relief even if

the identified sentencing disparity exists.                              Accord United States

V.    Saldana, 807 F. App'x 816, 820 (lO^h Cir. 2020) (rejecting a

                                \\
similar     argument    that         extraordinary               and     compelling     reasons

include    claims     related   to     post-sentencing                  developments    in   case

law); United States v. Rogers, 2020 WL 4597063, at *3 (M.D. Fla.

Aug. 11, 2020) ("The basis for compassionate release is based on

individual circumstances and not a medium for mass reductions of

statutory penalties.")               The    First Step Act did                   not render the

Sentencing       Commission's         policy              statement         an    inappropriate

expression of policy.           The fact remains that Congress intended

that the Sentencing Commission, not the judiciary, determine what

                                                                  \\                              u
constitutes      an   appropriate          use       of    the         compassionate    release

provision.       See 28 U.S.C. § 944 (t).                   Indeed, § 3582(c)(1)(A) as

amended by the First Step Act still requires courts to abide by

policy    statements     issued       by    the       Sentencing          Commission.    See   18

U.S.C. § 3582(c) (1)(A) .       Accordingly, this Court will not consider

circumstances outside of the specific examples of extraordinary

and    compelling reasons to afford relief.                             Accord,    e.g., United



Saxton appears to recognize this fact by requesting compassionate
release as opposed to challenging the legality of his sentence.

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     Case 1:12-cr-00119-JRH-BKE Document 210 Filed 01/12/21 Page 4 of 5



States V. Lynn, 2019 WL 3805349, at *4 (S.D. Ala. Aug. 12, 2019)

("If the policy statement needs tweaking in light of Section 603(b)

[of the First Step Act], that tweaking must be accomplished by the

[Sentencing] Commission, not by the courts."); United States v.

Johns, 2019 WL 2646663 (D. Ariz. June 28, 2019); United States v.

Gross, 2019 WL 2437463 (E.D. Wash. June 11, 2019) ;                   United States

V.   Heromin, 2019 WL 2411311 ,(M.D. Fla. June 7, 2019); United States

V.   Willis, 2019 WL 2403192 (D.N.M. June 7, 2019); United States v.

Shields, 2019 WL 2359231 (N.D. Calif. June 4, 2019) (stating that

there is    no    authority for     the       proposition    that    the   Court   may

disregard guidance provided by the Sentencing Commission where it

appears    that   such   guidance   has       not   kept    pace    with   statutory

amendments").

       Finally, even if a defendant demonstrates extraordinary and

compelling reasons for compassionate release, the Court must still

determine if he is a danger to the community, U.S.S.G. § 1B1.13(2),

and must consider the sentencing factors of 18 U.S.C. § 3553(a),

§ 3582(c)(1)(A).     These considerations do not support early release

in this case.      The Court cannot ignore that Saxton is a serial

armed robber.     Also, his previous convictions involved discharging

and possession of firearms on school property.                     The Court simply

cannot conclude with any amount of certainty that Saxton does not

pose a danger to the community.                  Moreover, Saxton has already

received a downward departure in sentence and a                     reduction.     He


                                          4
      Case 1:12-cr-00119-JRH-BKE Document 210 Filed 01/12/21 Page 5 of 5




still    has   over   eight    years   remaining    on   his   sentence.      Early

release    would   fail   to   reflect     the   seriousness    of   his   offense,

promote respect for the law, provide just punishment, and afford

adequate deterrence.

        Upon the foregoing. Defendant Davon Mitchell Saxton's motion

for    compassionate    release    (doc.     205)   is DENIED.       The   Clerk   is

directed to TERMINATE the Government's motion to dismiss Saxton's

motion for compassionate release (doc. 208).

        ORDER ENTERED at Augusta, Georgia, this                  day of January,

2021.




                                              J. R7^^L^ALi<j CHIEF JUDGE
                                              UNITEo/^fATES DISTRICT COURT
                                              SOU3IHERN DISTRICT OF GEORGIA




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